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WA/WD PTS-NoAction
(01/19)                                       UNITED STATES DISTRICT COURT
                                                                     for
                                                     Western District of Washington
Garz a J ohnny R oman N oActi on   -
                                           Report on Defendant Under Pretrial Services Supervision
Date of Report: 10/01/2020
Name of Defendant: Johnny Roman Garza                           Case Number: 2:20CR00032JCC-004
Name of Judicial Officer: The Honorable Brian A. Tsuchida, Chief United States Magistrate Judge
Original Offense: Ct. 1: Conspiracy to Mail Threatening Communications and to Commit Cyberstalking
                   Cts. 2-4: Mailing Threatening Communications
Date Supervision Commenced: 04/03/2020

Bond Conditions Imposed

• Submit to drug and alcohol testing, to include urinalysis, breathalyzer, or hand-held testing devices, as
  directed by Pretrial Services. You shall not use, consume, or possess alcohol, any product containing alcohol,
  or other intoxicants, including medication, unless prescribed to you by a physician and under the direction of
  Pretrial Services. Obtain an alcohol/substance abuse evaluation and follow any treatment recommendations
  as directed by Pretrial Services. You shall participate as directed in a program approved by the probation and
  pretrial services office for treatment of narcotic addiction, drug dependency, or substance abuse, which may
  include testing to determine if the defendant has reverted to the use of drugs or alcohol.

• Travel is restricted to the Western District of Washington and Maricopa County and Pinal County within the
  District of Arizona, or as directed by Pretrial Services.

• The defendant shall participate in the location monitoring program with Active Global Positioning
  technology via mobile application. The defendant is restricted to his/her residence at all times except for
  employment, religious services, medical, legal reasons, or as otherwise approved by the location monitoring
  specialist. The defendant shall abide by all program requirements, and must contribute towards the costs of
  the services, to the extent financially able, as determined by the location monitoring specialist.

• Surrender all current and expired passports and travel documents to the court. Do not apply for/obtain a new
  passport or travel document from any country without permission of the court. If the surrendered passport is
  a foreign passport, it shall be forwarded to Immigration and Customs Enforcement if defendant is convicted
  of an offense, unless otherwise ordered by the Court.

• You are prohibited from possessing or having access to firearms and dangerous weapons. All firearms and
  dangerous weapons must be removed from your residence(s), vehicle(s), and place of employment. This
  condition operates in conjunction with any restrictions imposed under Title 18, USC 922, and the Washington
  State Revised Code, Chapter 9.41.

• Undergo a mental health, psychiatric or psychological evaluation and follow all treatment recommendations
  in that evaluation, as directed by Pretrial Services. You shall take all medications as prescribed.

• You must contribute towards the costs of the services required by this bond, to the extent you are financially
  able to do so, as determined by Pretrial Services.
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• You shall not have direct contact or indirect contact with any existing and/or future co-defendant(s) in this
  case.

• You shall not have direct contact or indirect contact with any existing and/or future witnesses in this case.

• The defendant shall comply with the requirements of the U.S. Probation and Pretrial Services Computer
  Monitoring Program as directed. The defendant shall consent to the U.S. Probation and Pretrial Services
  Office conducting ongoing monitoring of his/her computer(s), hardware, software, and any/and all electronic
  devices/media.

    The monitoring will include the installation, at the defendant’s expense, of hardware or software systems that
    allow evaluation of his/her computer use. Monitoring may also include the retrieval and copying of all data
    from his/her computer(s) or any/and all other electronic devices/media. The defendant may be subject to
    quarterly polygraph testing at his/her expense, solely to ensure compliance with the requirements of the
    monitoring program. The defendant hereby consents to U.S. Probation and Pretrial Services’ use of electronic
    detection devices to evaluate the defendant’s access to WiFi (wireless fidelity) connections.

• Release on third-party custody to: Stacey Ehrig

                                    NONCOMPLIANCE SUMMARY
The defendant has not complied with the following conditions of supervision:

Nature of Noncompliance
   1. Consuming marijuana on or about September 25, 2020, in violation of a bond condition

Supporting Evidence: The defendant is currently under pretrial supervision out of the District of Arizona. On
September 30, 2020, the pretrial officer conducted a home inspection, and based on the defendant’s peculiar
behavior, the officer requested a urine sample for drug sample. The defendant claimed he could not produce a
sample, and then admitted to using marijuana three times in the last month. He signed an admission form which
states his last date of use was on or about September 25, 2020.

This is the defendant’s first positive result since his release to supervision.

United States Probation Officer Action:
     Reprimand
     Increase in level of services at mental health treatment

I consulted with Assistant United States Attorney Thomas Woods as well as defense counsel Scott Engelhard,
and they concur with my recommendation.

I respectfully recommend that the Court endorse the actions taken at this time.
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I swear under penalty of perjury that                APPROVED:
the foregoing is true and correct.                   Monique D. Neal
                                                     Chief United States Probation and Pretrial Services Officer
Executed on this 1st day of October, 2020.           BY:


A
Leona Nguyen
                                                     A
                                                     Patrick E. Robertson
United States Probation Officer                      Supervising United States Probation Officer

                         THE COURT FINDS PROBABLE CAUSE AND DIRECTS:
   Judicial Officer endorses the United States Probation Officer’s actions
   Issue a Summons
   Issue a Warrant
   Other




                                                      Brian A. Tsuchida, Chief United States Magistrate Judge

                                                                                Date
